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                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

   THE ARC IN HAWAII,            )             CV 20-00112 ACK-WRP
                                 )
             Plaintiff(s),       )             ORDER ADOPTING
                                 )             MAGISTRATE JUDGE’S
        vs.                      )             FINDINGS AND
                                 )             RECOMMENDATION TO GRANT
   DB INSURANCE CO., LTD,        )             IN PART AND DENY IN PART
                                 )             PLAINTIFF’S MOTION FOR
             Defendant(s).       )             AWARD OF ATTORNEYS’ FEES
                                 )             AND COSTS
                                 )
   _____________________________ )

        ORDER ADOPTING MAGISTRATE JUDGE’S FINDINGS AND
       RECOMMENDATION TO GRANT IN PART AND DENY IN PART
   PLAINTIFF’S MOTION FOR AWARD OF ATTORNEYS’ FEES AND COSTS

         Findings and Recommendation having been filed and served on all parties

   on September 17, 2021, and no objections having been filed by any party,

         IT IS HEREBY ORDERED AND ADJUDGED that, pursuant to Title 28,

   United States Code, Section 636(b)(1)(C) and Local Rule 74.1, the Findings and

   Recommendations are adopted as the opinion and order of this Court.

         IT IS SO ORDERED.

         DATED: Honolulu, Hawai`i, October 5, 2021.



                                    ________________________________
                                    Alan C. Kay
                                    Sr. United States District Judge
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   The Arc in Hawaii v. DB Insurance Co., LTD, Civ. No. 20-00112 ACK-WRP,
   Order Adopting Magistrate Judge’s Findings and Recommendation to Grant in Part
   and Deny in Part Plaintiff’s Motion for Award of Attorneys’ Fees and Costs.
